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      UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

IN RE:                                                         CHAPTER 13
                                                               CASE: 17-11810-MER
JUDITH JEAN SCHNEIDER

         DEBTOR(s).



                   OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN


       The Standing Chapter 13 Trustee hereby files her Objection to Confirmation of Chapter 13
Plan and as grounds therefore states as follows:

         1.      Debtor’s plan is not feasible. 11 U.S.C. § 1325(a)(6). Debtor’s plan provides for the
secured claim of LVNV Funding LLC to be voided pursuant to § 522(f). However, Debtor has not
filed a § 522(f) motion.

       2.     Debtor’s plan fails to provide for the secured claim of CVI Loan GT Trust I (listed
on Schedule D). 11 U.S.C. § 1325(a)(5).

         3.      Debtor’s plan is incapable of being administered. Debtor’s plan provides for
$28,000.00 of mortgage arrears to be paid through the plan to CitiFinancial Servicing LLC.
CitiFinancial Servicing LLC filed a proof of claim (claim 5-1) that lists inconsistent amounts for pre-
petition mortgage arrears. Page 3 of the proof of claims shows no pre-petition mortgage arrears.
Page 2 of the attachment to the proof of claim shows pre-petition mortgage arrears of $41,160.27
(the first three pages of the Attachment are a second proof of claim. Thus Debtor’s plan either fails
to fully provide for the pre-petition mortgage arrears or unfairly discriminates against general
unsecured creditors by paying pre-petition mortgage arrears that do not exist.

       4.      The Trustee reserves the right to report on the Debtor(s) payment history at the
hearing on her Objection.

        WHEREFORE, the Standing Chapter 13 Trustee requests that the Court deny confirmation
in the above-captioned matter and dismiss or convert the proceeding pursuant to 11 U.S.C. Section
1307.

         June 21, 2017
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                                           Respectfully submitted,

                                            /s/ William R. Lambert
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                                  CERTIFICATE OF MAILING
       I hereby certify that a true and correct copy of the above Objection to Confirmation of
Chapter 13 Plan was placed in the U.S. Mail, postage prepaid, on June 21, 2017 addressed as
follows:

Judith Jean Schneider
4316 East 113th Place
Thornton, CO 80233

Thomas A. Arany
1401 17th St., Ste. 300
Denver, CO 80202

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/s/ William R. Lambert
Chapter 13 Trustee Staff Member
